            Case 16-04735-5-SWH                      Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                     Page 1 of 88


Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Alisa
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        D
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Copeland
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-9056
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                               page 1
           Case 16-04735-5-SWH                    Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                   Page 2 of 88
Debtor 1   Alisa D Copeland                                                                           Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 2565 Bell Williams Road
                                 Burgaw, NC 28425
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Pender
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
            Case 16-04735-5-SWH                    Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                     Page 3 of 88
Debtor 1    Alisa D Copeland                                                                              Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District    EDNC                          When     3/17/15                Case number      15-01475-5-SWH
                                                          Eastern District of
                                              District    North Carolina                When     2/13/13                Case number      13-00924-8-SWH
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
            Case 16-04735-5-SWH                    Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                   Page 4 of 88
Debtor 1    Alisa D Copeland                                                                               Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11          No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).                        Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
            Case 16-04735-5-SWH                      Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                 Page 5 of 88
Debtor 1    Alisa D Copeland                                                                           Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
            Case 16-04735-5-SWH                   Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                  Page 6 of 88
Debtor 1    Alisa D Copeland                                                                        Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.     Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                             individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.     Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                          money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.     State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.   I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                    are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                          1,000-5,000                                25,001-50,000
    you estimate that you           50-99                                         5001-10,000                                50,001-100,000
    owe?                            100-199                                       10,001-25,000                              More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                  $1,000,001 - $10 million                   $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                            $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
    be worth?                       $100,001 - $500,000                           $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                         $100,000,001 - $500 million                More than $50 billion

20. How much do you                 $0 - $50,000                                  $1,000,001 - $10 million                   $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                            $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
    to be?                          $100,001 - $500,000                           $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                         $100,000,001 - $500 million                More than $50 billion




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                               page 6
            Case 16-04735-5-SWH                 Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                       Page 7 of 88
Debtor 1    Alisa D Copeland                                                                            Case number (if known)

Part 7:    Sign Below

For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                               If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                               United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                               If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                               document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                               I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                               I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                               bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                               and 3571.
                               /s/ Alisa D Copeland
                               Alisa D Copeland                                                  Signature of Debtor 2
                               Signature of Debtor 1

                               Executed on     September 1, 2016                                 Executed on
                                               MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 7
           Case 16-04735-5-SWH                       Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                 Page 8 of 88
Debtor 1   Alisa D Copeland                                                                               Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Robert J. Anderson                                             Date         September 1, 2016
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Robert J. Anderson
                                Printed name

                                Gillespie & Murphy PA
                                Firm name

                                P.O. Drawer 888
                                New Bern, NC 28563
                                Number, Street, City, State & ZIP Code

                                Contact phone     (252) 636-2225                             Email address         gmpa@lawyersforchrist.com
                                37992
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 8
        Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                      Page 9 of 88


Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                         Page 10 of 88



        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                        Page 11 of 88

        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                        Page 12 of 88

                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
         Case 16-04735-5-SWH                           Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                      Page 13 of 88


 Fill in this information to identify your case:                                                            Check as directed in lines 17 and 21:

 Debtor 1              Alisa D Copeland                                                                        According to the calculations required by this
                                                                                                               Statement:
 Debtor 2
                                                                                                                     1. Disposable income is not determined under
 (Spouse, if filing)
                                                                                                                        11 U.S.C. § 1325(b)(3).
 United States Bankruptcy Court for the:            Eastern District of North Carolina                               2. Disposable income is determined under 11
                                                                                                                        U.S.C. § 1325(b)(3).
 Case number
 (if known)
                                                                                                                     3. The commitment period is 3 years.

                                                                                                                     4. The commitment period is 5 years.

                                                                                                                   Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

 Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married. Fill out both Columns A and B, lines 2-11.


    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                 Column B
                                                                                                       Debtor 1                 Debtor 2 or
                                                                                                                                non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                            2,687.00       $               0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                            $              0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                             0.00      $               0.00
  5. Net income from operating a business,
     profession, or farm                                              Debtor 1
        Gross receipts (before all deductions)                           $       0.00
        Ordinary and necessary operating expenses                        -$      0.00
        Net monthly income from a business, profession, or farm $                0.00 Copy here -> $                  0.00      $               0.00
  6. Net income from rental and other real property                   Debtor 1
        Gross receipts (before all deductions)                          $      0.00
        Ordinary and necessary operating expenses                        -$      0.00
        Net monthly income from rental or other real property            $       0.00 Copy here -> $                  0.00      $               0.00




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                        page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                                 Page 14 of 88

 Debtor 1     Alisa D Copeland                                                                                   Case number (if known)



                                                                                                             Column A                      Column B
                                                                                                             Debtor 1                      Debtor 2 or
                                                                                                                                           non-filing spouse
                                                                                                             $                  0.00       $            0.00
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                               $                  0.00       $            0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                          $                       0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                  $                  0.00       $            0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
                  Contribution from Household Member                                                         $              200.00         $            0.00
                                                                                                             $                  0.00       $            0.00
                  Total amounts from separate pages, if any.                                            +    $                  0.00       $            0.00

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                     $         2,887.00           +   $           0.00    =    $      2,887.00

                                                                                                                                                                Total average
                                                                                                                                                                monthly income
 Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                              $          2,887.00
  13. Calculate the marital adjustment. Check one:
              You are not married. Fill in 0 below.
              You are married and your spouse is filing with you. Fill in 0 below.
              You are married and your spouse is not filing with you.
              Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
              dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
              Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
              adjustments on a separate page.
              If this adjustment does not apply, enter 0 below.
                                                                                                    $
                                                                                                    $
                                                                                                 +$

                     Total                                                                        $                     0.00           Copy here=>          -               0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                                       $          2,887.00

  15. Calculate your current monthly income for the year. Follow these steps:
        15a. Copy line 14 here=>                                                                                                                        $          2,887.00

                Multiply line 15a by 12 (the number of months in a year).                                                                                       x 12

        15b. The result is your current monthly income for the year for this part of the form. ...........................................              $         34,644.00




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                   page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                            Page 15 of 88

 Debtor 1     Alisa D Copeland                                                                   Case number (if known)




  16. Calculate the median family income that applies to you. Follow these steps:
       16a. Fill in the state in which you live.                         NC

       16b. Fill in the number of people in your household.               4
       16c. Fill in the median family income for your state and size of household.                                                       $     69,810.00
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
       17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                      11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
       17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                      1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                      your current monthly income from line 14 above.
 Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

 18. Copy your total average monthly income from line 11 .                                                                       $                  2,887.00
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
     contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
     spouse's income, copy the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                      -$                       0.00


       19b. Subtract line 19a from line 18.                                                                                          $          2,887.00


 20. Calculate your current monthly income for the year. Follow these steps:
       20a. Copy line 19b                                                                                                                $      2,887.00

              Multiply by 12 (the number of months in a year).                                                                               x 12

       20b. The result is your current monthly income for the year for this part of the form                                             $     34,644.00




       20c. Copy the median family income for your state and size of household from line 16c                                             $     69,810.00


       21. How do the lines compare?

                   Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                   period is 3 years. Go to Part 4.

                   Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                   commitment period is 5 years. Go to Part 4.




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                page 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                            Page 16 of 88

 Debtor 1    Alisa D Copeland                                                                    Case number (if known)




 Part 4:       Sign Below
       By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

    X /s/ Alisa D Copeland
        Alisa D Copeland
        Signature of Debtor 1
       Date September 1, 2016
            MM / DD / YYYY
       If you checked 17a, do NOT fill out or file Form 122C-2.
       If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                             page 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                Page 17 of 88

 Debtor 1    Alisa D Copeland                                                             Case number (if known)




                                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 03/01/2016 to 08/31/2016.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: New Hanover County Schools
Income by Month:
 6 Months Ago:                                    03/2016            $2,687.00
 5 Months Ago:                                    04/2016            $2,687.00
 4 Months Ago:                                    05/2016            $2,687.00
 3 Months Ago:                                    06/2016            $2,687.00
 2 Months Ago:                                    07/2016            $2,687.00
 Last Month:                                      08/2016            $2,687.00
                                 Average per month:                  $2,687.00




Line 10 - Income from all other sources
Source of Income: Contribution from Household Member
Constant income of $200.00 per month.




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period            page 5
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
         Case 16-04735-5-SWH                           Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                        Page 18 of 88




 Fill in this information to identify your case:

 Debtor 1                  Alisa D Copeland
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NORTH CAROLINA

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 2015 YTD: Wife New Hanover                          Wages, commissions,                          $8,061.00          Wages, commissions,
 County School                                     bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

 2014: Wife New Hanover County                       Wages, commissions,                        $26,883.40           Wages, commissions,
 School                                            bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
        Case 16-04735-5-SWH                            Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                        Page 19 of 88
 Debtor 1      Alisa D Copeland                                                                            Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 2013: Wife Pender County School                     Wages, commissions,                        $26,883.40           Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 2015                                              Contribution From                                $600.00
                                                   Household Member

 2014                                              Contribution from                              $2,400.00
                                                   Household Member

 2013                                              Contribution from                              $2,400.00
                                                   Household Member


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


        Creditor's Name and Address                             Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                      Page 20 of 88
 Debtor 1      Alisa D Copeland                                                                            Case number (if known)



7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Coastal Federal Credit Union vs.                         Civil Matter                New Hanover County                          Pending
       Alisa Murray aka Alisa Copeland;                                                     District Court, NC                          On appeal
       12 CVD 2707                                                                                                                      Concluded

                                                                                                                                     Judgment entered
                                                                                                                                     09-12-2012


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                        Page 21 of 88
 Debtor 1      Alisa D Copeland                                                                            Case number (if known)



 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                  Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                       Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                                                                                  loss                            lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Gillespie & Murphy, PA                                        $400.00 Attorney Fees                                    2/25/2015                   $400.00
       Attn Managing Agent                                           $400.00 for Motion to Extend Stay
       PO Drawer 888                                                 $310.00 Filing Fees
       New Bern, NC 28563                                            $23.00 Credit Report
                                                                     $34.00 Credit Counseling


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                      Page 22 of 88
 Debtor 1      Alisa D Copeland                                                                            Case number (if known)



18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or       Date transfer was
       Address                                                       property transferred                       payments received or debts     made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                         Date Transfer was
                                                                                                                                               made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was            Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,           before closing or
       Code)                                                                                                            moved, or                        transfer
                                                                                                                        transferred
       WoodForst National Bank                                  XXXX-6080                     Checking                  2015                                 $0.00
       Attention: Managing Agent                                                              Savings
       1114 New Pointe Blvd
                                                                                              Money Market
       Leland, NC 28451
                                                                                              Brokerage
                                                                                              Other

       WoodForst National Bank                                  XXXX-5969                     Checking                  2015                                 $0.00
       Attention: Managing Agent                                                              Savings
       1114 New Pointe Blvd
                                                                                              Money Market
       Leland, NC 28451
                                                                                              Brokerage
                                                                                              Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                              have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access            Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                      have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                          Page 23 of 88
 Debtor 1      Alisa D Copeland                                                                                 Case number (if known)



 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                  Status of the
       Case Number                                                   Name                                                                           case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                     Page 24 of 88
 Debtor 1      Alisa D Copeland                                                                            Case number (if known)



            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business              Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                     Date Issued
       Address
       (Number, Street, City, State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
        Case 16-04735-5-SWH                            Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                Page 25 of 88
 Debtor 1      Alisa D Copeland                                                                            Case number (if known)




 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Alisa D Copeland
 Alisa D Copeland                                                        Signature of Debtor 2
 Signature of Debtor 1

 Date     September 1, 2016                                              Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 8
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
         Case 16-04735-5-SWH                                     Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                             Page 26 of 88

 Fill in this information to identify your case and this filing:

 Debtor 1                    Alisa D Copeland
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      EASTERN DISTRICT OF NORTH CAROLINA

 Case number                                                                                                                                                      Check if this is an
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                      12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        2565 Bell Williams Road                                                        Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the        Current value of the
        Burgaw                            NC        28425-0000                         Land                                       entire property?            portion you own?
        City                              State              ZIP Code                  Investment property                                 $92,106.00                  $92,106.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Pender                                                                         Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                House & lot at 2565 Bell Williams Rd., Burgaw, NC 28425, Pender County
                                                                                FMV: $92,106.00 (Appraised value $99,106.00 Repair Costs estimated at
                                                                                $7,000.00 dated 02/05/15)
                                                                                Purchased: 11/18/1998
                                                                                Price: $ 71,200.00
                                                                                TV: $104,835.00
                                                                                Ownership: Debtor
                                                                                Monthly Contractual Payment (P/I/E): $ 582.00
                                                                                Due: 1st of each month




Official Form 106A/B                                                                  Schedule A/B: Property                                                                    page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
        Case 16-04735-5-SWH                                      Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                                 Page 27 of 88
 Debtor 1         Alisa D Copeland                                                                                              Case number (if known)

        If you own or have more than one, list here:
 1.2                                                                         What is the property? Check all that apply

                                                                                      Single-family home                              Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                            the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                      Current value of the        Current value of the
                                                                                      Land                                            entire property?            portion you own?
        City                              State              ZIP Code                 Investment property                                        $4,500.00                   $1,125.00
                                                                                      Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                      Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.
                                                                                      Debtor 1 only                                   Fee simple
                                                                                      Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                      At least one of the debtors and another              (see instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             .5 acres with FEMA Trailer
                                                                             FMV: $4500.00 (TV $5,000.00 - 10% liquidation cost)
                                                                             Purchased: 2003
                                                                             Price: $1,500.00
                                                                             TV: $5,000.00
                                                                             Ownership: Debtor has a 25% share of property
                                                                             Parcel ID: 2268-80-0385-0000
                                                                             Located: FEMA Trailer and Lot 59 loop Road Burgaw NC 28425 (Trailer
                                                                             belongs to FEMA)


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                             $93,231.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:         Chevrolet                                       Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Tahoe                                              Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2007                                               Debtor 2 only                                               Current value of the       Current value of the
          Approximate mileage:                     250,000                 Debtor 1 and Debtor 2 only                                  entire property?           portion you own?
          Other information:                                               At least one of the debtors and another
         VIN: 1GNFC13C37R345095
         FMV: $ 10,700.00 less 10% =                                       Check if this is community property                                   $9,630.00                   $4,815.00
         $9,630.00                                                         (see instructions)

         Purchased: 05/2011
         Price: $26,000.00

         Ownership: Debtor & Non-Filing
         Co-Borrower
         Vehicle is subject to a charge
         off in the amount of $15,724.23
         to Wells Fargo Financial




Official Form 106A/B                                                             Schedule A/B: Property                                                                             page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                       Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                           Page 28 of 88
 Debtor 1       Alisa D Copeland                                                                                    Case number (if known)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

      No
      Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>            $4,815.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                              Current value of the
                                                                                                                                                portion you own?
                                                                                                                                                Do not deduct secured
                                                                                                                                                claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Living Room Furniture                                                                                                        $75.00


                                    Bedroom Furniture                                                                                                          $200.00


                                    Small Kitchen Appliances                                                                                                     $25.00


                                    Stove                                                                                                                        $75.00


                                    Refrigerator                                                                                                                 $50.00


                                    Freezer                                                                                                                      $50.00


                                    Microwave                                                                                                                    $15.00


                                    Dishwasher                                                                                                                   $20.00


                                    Washing Machine & Dryer                                                                                                      $75.00


                                    China & Dishes                                                                                                               $20.00


                                    Silverware                                                                                                                   $10.00


                                    Dining Room Furniture                                                                                                        $75.00


                                    CD's                                                                                                                         $10.00


                                    Books & Encyclopedia's                                                                                                       $10.00



Official Form 106A/B                                                   Schedule A/B: Property                                                                      page 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                            Page 29 of 88
 Debtor 1       Alisa D Copeland                                                                    Case number (if known)


                                    Office Equipment (Desk, Chair)                                                                                   $25.00


                                    Any and all miscellaneous household goods and personal items.                                                $3,985.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Televisions                                                                                                    $100.00


                                    Stereo/Radio                                                                                                     $40.00


                                    VCR/DVD                                                                                                          $20.00


                                    Printer                                                                                                          $20.00


                                    Laptop                                                                                                         $100.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    The Debtor(s) is/(are) not presently aware of any pre-petition
                                    claims or other unliquidated debts to which s/he/they might be
                                    entitled. If the Debtor(s) learn(s) that s/he/they may be entitled to
                                    recover any unliquidated claims or debts which arose pre-petition,
                                    s/he/they reserve(s) the right to amend these schedules to
                                    disclose and exempt such pre-petition claims and unliquidated
                                    debts within the dollar limits allowed under applicable exemptions
                                    . Such claims include but are not limited to claims for TILA or
                                    lender liability, for products or lender liability, for medical
                                    malpractice, for violation of either the Fair Debt Collections
                                    Practices or Fair Credit Reporting Acts, etc.                                                                      $0.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
        Yes. Describe.....



Official Form 106A/B                                                 Schedule A/B: Property                                                            page 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
       Case 16-04735-5-SWH                                          Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                     Page 30 of 88
 Debtor 1         Alisa D Copeland                                                                                            Case number (if known)

12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                          $5,000.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash on hand                           $28.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.                                               SECU Checking Acct #9802                                            $195.31



                                              17.2.                                               SECU Share Acct # 9718                                                $25.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:



Official Form 106A/B                                                                       Schedule A/B: Property                                                         page 5
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                             Best Case Bankruptcy
       Case 16-04735-5-SWH                              Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                    Page 31 of 88
 Debtor 1         Alisa D Copeland                                                                            Case number (if known)

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                            Institution name:

                                                                            North Carolina State Retirement Plan                                     $23,088.69


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
        Yes. Give specific information..




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 6
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
        Case 16-04735-5-SWH                                 Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                                     Page 32 of 88
 Debtor 1        Alisa D Copeland                                                                                                Case number (if known)


                                                          The Debtor(s) is/(are) not presently aware of any liquidated
                                                          debts owed to him (her/them), including tax refunds. If the
                                                          Debtor(s) later learn(s) that s/he/they may be entitled to
                                                          collect any such liquidated debts, s/he/they reserve(s) the
                                                          right to amend these schedules to disclose and exempt such
                                                          liquidated debts within the dollar limits allowed under
                                                          applicable exemptions.                                                                                                  $0.00


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                              Surrender or refund
                                                                                                                                                                value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
      No
        Yes. Describe each claim.........

                                                          The Debtor(s) is/(are) not presently aware of any pre-petition
                                                          claims or other unliquidated debts to which s/he/they might
                                                          be entitled. If the Debtor(s) learn(s) that s/he/they may be
                                                          entitled to recover any unliquidated claims or debts which
                                                          arose pre-petition, s/he/they reserve(s) the right to amend
                                                          these schedules to disclose and exempt such pre-petition
                                                          claims and unliquidated debts within the dollar limits allowed
                                                          under applicable exemptions . Such claims include but are
                                                          not limited to claims for TILA or lender liability, for products
                                                          or lender liability, for medical malpractice, for violation of
                                                          either the Fair Debt Collections Practices or Fair Credit
                                                          Reporting Acts, etc.                                                                                                    $0.00


35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................          $23,337.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.




Official Form 106A/B                                                           Schedule A/B: Property                                                                             page 7
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
        Case 16-04735-5-SWH                                    Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                                        Page 33 of 88
 Debtor 1         Alisa D Copeland                                                                                                      Case number (if known)

 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
        Yes. Give specific information.........

                                               Any/all property specifically listed on Schedules A or B, including any
                                               tax refund or economic stimulus rebates.                                                                                               $0.00



 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                $93,231.00
 56. Part 2: Total vehicles, line 5                                                                            $4,815.00
 57. Part 3: Total personal and household items, line 15                                                       $5,000.00
 58. Part 4: Total financial assets, line 36                                                                  $23,337.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $33,152.00              Copy personal property total            $33,152.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                         $126,383.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 8
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                         Best Case Bankruptcy
         Case 16-04735-5-SWH                           Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                    Page 34 of 88

 Fill in this information to identify your case:

 Debtor 1                Alisa D Copeland
                         First Name                         Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NORTH CAROLINA

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      2565 Bell Williams Road Burgaw, NC                             $92,106.00                                $33,000.00      N.C. Gen. Stat. §
      28425 Pender County                                                                                                      1C-1601(a)(1)
      House & lot at 2565 Bell Williams Rd.,                                               100% of fair market value, up to
      Burgaw, NC 28425, Pender County                                                      any applicable statutory limit
      FMV: $92,106.00 (Appraised value
      $99,106.00 Repair Costs estimated at
      $7,000.00 dated 02/05/15)
      Purchased: 11/18/1998
      Pric
      Line from Schedule A/B: 1.1

      .5 acres with FEMA Trailer                                      $1,125.00                                  $2,000.00     N.C. Gen. Stat. § 1C-1601(a)(2)
      FMV: $4500.00 (TV $5,000.00 - 10%
      liquidation cost)                                                                    100% of fair market value, up to
      Purchased: 2003                                                                      any applicable statutory limit
      Price: $1,500.00
      TV: $5,000.00
      Ownership: Debtor has a 25% share
      of property
      Parcel ID: 2268-80-0385-0000
      Located: FEMA Trailer and Lot 59
      loop Road Bu
      Line from Schedule A/B: 1.2




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                       Page 35 of 88
 Debtor 1    Alisa D Copeland                                                                            Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     2007 Chevrolet Tahoe 250,000 miles                               $4,815.00                                  $3,500.00        N.C. Gen. Stat. § 1C-1601(a)(3)
     VIN: 1GNFC13C37R345095
     FMV: $ 10,700.00 less 10% =                                                           100% of fair market value, up to
     $9,630.00                                                                             any applicable statutory limit
     Purchased: 05/2011
     Price: $26,000.00

     Ownership: Debtor & Non-Filing
     Co-Borrower
     Vehicle is subject to a charge off in
     the amount of $15,724.23 to Wells
     Line from Schedule A/B: 3.1

     Living Room Furniture                                                $75.00                                    $75.00        N.C. Gen. Stat. § 1C-1601(a)(4)
     Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedroom Furniture                                                   $200.00                                   $200.00        N.C. Gen. Stat. § 1C-1601(a)(4)
     Line from Schedule A/B: 6.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Small Kitchen Appliances                                             $25.00                                    $25.00        N.C. Gen. Stat. § 1C-1601(a)(4)
     Line from Schedule A/B: 6.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Stove                                                                $75.00                                    $75.00        N.C. Gen. Stat. § 1C-1601(a)(4)
     Line from Schedule A/B: 6.4
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Refrigerator                                                         $50.00                                    $50.00        N.C. Gen. Stat. § 1C-1601(a)(4)
     Line from Schedule A/B: 6.5
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Freezer                                                              $50.00                                    $50.00        N.C. Gen. Stat. § 1C-1601(a)(4)
     Line from Schedule A/B: 6.6
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Microwave                                                            $15.00                                    $15.00        N.C. Gen. Stat. § 1C-1601(a)(4)
     Line from Schedule A/B: 6.7
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Dishwasher                                                           $20.00                                    $20.00        N.C. Gen. Stat. § 1C-1601(a)(4)
     Line from Schedule A/B: 6.8
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Washing Machine & Dryer                                              $75.00                                    $75.00        N.C. Gen. Stat. § 1C-1601(a)(4)
     Line from Schedule A/B: 6.9
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                       Page 36 of 88
 Debtor 1    Alisa D Copeland                                                                            Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     China & Dishes                                                       $20.00                                    $20.00        N.C. Gen. Stat. § 1C-1601(a)(4)
     Line from Schedule A/B: 6.10
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Silverware                                                           $10.00                                    $10.00        N.C. Gen. Stat. § 1C-1601(a)(4)
     Line from Schedule A/B: 6.11
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Dining Room Furniture                                                $75.00                                    $75.00        N.C. Gen. Stat. § 1C-1601(a)(4)
     Line from Schedule A/B: 6.12
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     CD's                                                                 $10.00                                    $10.00        N.C. Gen. Stat. § 1C-1601(a)(4)
     Line from Schedule A/B: 6.13
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Books & Encyclopedia's                                               $10.00                                    $10.00        N.C. Gen. Stat. § 1C-1601(a)(4)
     Line from Schedule A/B: 6.14
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Office Equipment (Desk, Chair)                                       $25.00                                    $25.00        N.C. Gen. Stat. § 1C-1601(a)(4)
     Line from Schedule A/B: 6.15
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Any and all miscellaneous household                              $3,985.00                                  $3,985.00        N.C. Gen. Stat. § 1C-1601(a)(4)
     goods and personal items.
     Line from Schedule A/B: 6.16                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Televisions                                                         $100.00                                   $100.00        N.C. Gen. Stat. § 1C-1601(a)(4)
     Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Stereo/Radio                                                         $40.00                                    $40.00        N.C. Gen. Stat. § 1C-1601(a)(4)
     Line from Schedule A/B: 7.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     VCR/DVD                                                              $20.00                                    $20.00        N.C. Gen. Stat. § 1C-1601(a)(4)
     Line from Schedule A/B: 7.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Printer                                                              $20.00                                    $20.00        N.C. Gen. Stat. § 1C-1601(a)(4)
     Line from Schedule A/B: 7.4
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Laptop                                                              $100.00                                   $100.00        N.C. Gen. Stat. § 1C-1601(a)(4)
     Line from Schedule A/B: 7.5
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                       Page 37 of 88
 Debtor 1    Alisa D Copeland                                                                            Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Cash on hand                                                         $28.00                                    $28.00        N.C. Gen. Stat. § 1-362
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     SECU Checking Acct #9802                                            $195.31                                   $195.31        N.C. Gen. Stat. § 1-362
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     SECU Share Acct # 9718                                               $25.00                                    $25.00        N.C. Gen. Stat. § 1-362
     Line from Schedule A/B: 17.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     North Carolina State Retirement Plan                            $23,088.69                                $23,088.69         N.C. Gen. Stat. § 1C-1601(a)(9)
     Line from Schedule A/B: 21.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 4 of 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                         Page 38 of 88
Rev. 3/2016
                                                                  UNITED STATES BANKRUPTCY COURT
                                                                 EASTERN DISTRICT OF NORTH CAROLINA

 IN THE MATTER OF:                                                                                                CASE NUMBER:
 Alisa D Copeland
             Debtor(s).


                                                           SCHEDULE C-1 - PROPERTY CLAIMED AS EXEMPT

         I,  Alisa D Copeland        , claim the following property as exempt pursuant to 11 U.S.C. § 522 and the laws of the State of North Carolina,
and nonbankruptcy Federal law: (Attach additional sheets if necessary).

           1. NCGS 1C-1601(a)(1) (NC Const., Article X, Section 2) REAL OR PERSONAL PROPERTY USED AS A RESIDENCE OR BURIAL PLOT
(The exemption is not to exceed $35,000; however, an unmarried debtor who is 65 years of age or older is entitled to retain an aggregate interest in the
property not to exceed $60,000 in value so long as the property was previously owned by the debtor as a tenant by the entireties or as a joint tenant with
rights of survivorship and the former co-owner of the property is deceased, in which case the debtor must specify his/her age and the name of the former
co-owner, if a child use initials only, of the property below).

                                               Owner
                                               (D1)Debtor 1                               Amount of
 Description of Property                Market (D2)Debtor 2 Mortgage Holder               Mortgage               Net       Value Claimed as Exempt
 and Address                             Value (J)Joint     or Lien Holder                  or Lien            Value Pursuant to NCGS 1C-1601(a)(1)
 2565 Bell Williams                92,106.00                         USDA Rural          60,798.81        31,307.19                           33,000.00
 Road Burgaw, NC                                                     Development
 28425 Pender
 County
 House & lot at 2565
 Bell Williams Rd.,
 Burgaw, NC 28425,
 Pender County
 FMV: $92,106.00
 (Appraised value
 $99,106.00 Repair
 Costs estimated at
 $7,000.00 dated
 02/05/15)
 Purchased:
 11/18/1998
 Pric

 Debtor's Age:
 Name of former co-owner:

                                               VALUE OF REAL ESTATE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(1): $                       33,000.00

            2. NCGS 1C-1601(a)(3) MOTOR VEHICLE (The exemption in one vehicle is not to exceed $3,500).

                                               Owner
                                               (D1)Debtor 1
 Model, Year                            Market (D2)Debtor 2                               Amount of              Net       Value Claimed as Exempt
 Style of Auto                           Value (J)Joint     Lien Holder                       Lien             Value Pursuant to NCGS 1C-1601(a)(3)




Schedule C-1 - Property Claimed as Exempt - 3/2016
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                     Page 39 of 88

                                               Owner
                                               (D1)Debtor 1
 Model, Year                            Market (D2)Debtor 2                            Amount of                Net       Value Claimed as Exempt
 Style of Auto                           Value (J)Joint     Lien Holder                    Lien               Value Pursuant to NCGS 1C-1601(a)(3)
 2007 Chevrolet                     9,630.00                         Wells Fargo       15,724.23           0.00                            3,500.00
 Tahoe 250,000                                                       Dealer Services                 50% owned
 miles
 VIN:
 1GNFC13C37R3450
 95
 FMV: $ 10,700.00
 less 10% =
 $9,630.00
 Purchased: 05/2011
 Price: $26,000.00

 Ownership: Debtor
 & Non-Filing
 Co-Borrower
 Vehicle is subject
 to a charge off in
 the amount of
 $15,724.23 to Wells

                                           VALUE OF MOTOR VEHICLE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(3): $                      3,500.00

         3. NCGS 1C-1601(a)(4) (NC Const., Article X, Section 1) PERSONAL OR HOUSEHOLD GOODS (The debtor's aggregate interest is not to
exceed $5,000 plus $1,000 for each dependent of the debtor, not to exceed $4,000 total for dependents). The number of dependents for exemption
purposes is 2 .

                                                        Owner
                                                        (D1)Debtor 1                                                             Claimed as Exempt
 Description                                     Market (D2)Debtor 2        Lien                   Amount                  Net    Pursuant to NCGS
 of Property                                      Value (J)Joint            Holder                  of Lien              Value        1C-1601(a)(4)
 Any and all
 miscellaneous
 household goods
 and personal items.                          3,985.00                                                               3,985.00              3,985.00
 Bedroom Furniture                              200.00                                                                 200.00                200.00
 Books &
 Encyclopedia's                                   10.00                                                                 10.00                  10.00
 CD's                                             10.00                                                                 10.00                  10.00
 China & Dishes                                   20.00                                                                 20.00                  20.00
 Dining Room
 Furniture                                       75.00                                                                  75.00                 75.00
 Dishwasher                                      20.00                                                                  20.00                 20.00
 Freezer                                         50.00                                                                  50.00                 50.00
 Laptop                                         100.00                                                                 100.00                100.00
 Living Room
 Furniture                                        75.00                                                                 75.00                  75.00
 Microwave                                        15.00                                                                 15.00                  15.00
 Office Equipment
 (Desk, Chair)                                    25.00                                                                 25.00                  25.00
 Printer                                          20.00                                                                 20.00                  20.00
 Refrigerator                                     50.00                                                                 50.00                  50.00
 Silverware                                       10.00                                                                 10.00                  10.00
 Small Kitchen
 Appliances                                      25.00                                                                  25.00                 25.00
 Stereo/Radio                                    40.00                                                                  40.00                 40.00
 Stove                                           75.00                                                                  75.00                 75.00
 Televisions                                    100.00                                                                 100.00                100.00
 VCR/DVD                                         20.00                                                                  20.00                 20.00
 Washing Machine &
 Dryer                                            75.00                                                                 75.00                  75.00

Schedule C-1 - Property Claimed as Exempt - 3/2016                                                                                             Page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                        Page 40 of 88

                                                                     VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(4): $                 5,000.00

            4. NCGS 1C-1601(a)(5) TOOLS OF TRADE (The debtor's aggregate interest is not to exceed $2,000 in value).

                                               Owner
                                               (D1)Debtor 1
                                        Market (D2)Debtor 2 Lien                              Amount of            Net       Value Claimed as Exempt
 Description                             Value (J)Joint     Holder                                Lien           Value Pursuant to NCGS 1C-1601(a)(5)
 -NONE-

                                                                     VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(5): $                       0.00

            5. NCGS 1C-1601(a)(6) LIFE INSURANCE (NC Const., Article X, Section 5).

                                                                                                                                                    Cash
 Description\Insured\Last Four Digits of Policy Number\Beneficiary(if child, initials only)                                                         Value
 -NONE-

            6. NCGS 1C-1601(a)(7) PROFESSIONALLY PRESCRIBED HEALTH AIDS (For Debtor or Debtor's Dependents, no limit on value).

 Description
 -NONE-

        7. NCGS 1C-1601(a)(8) COMPENSATION FOR PERSONAL INJURY, INCLUDING COMPENSATION FROM PRIVATE DISABILITY
POLICIES OR ANNUITIES, OR COMPENSATION FOR DEATH OF A PERSON UPON WHOM THE DEBTOR WAS DEPENDENT FOR SUPPORT.
COMPENSATION NOT EXEMPT FROM RELATED LEGAL, HEALTH OR FUNERAL EXPENSE.

 Description AND Source of Compensation, Including Name (If child, initials only) & Last Four Digits of Account Number of any Disability Policy/Annuity
 -NONE-

         8. NCGS 1C-1601(a)(2) ANY PROPERTY (Debtor's aggregate interest in any property is not to exceed $5,000 in value of any unused
exemption amount to which the debtor is entitled under NCGS 1C-1601(a)(1)).

                                               Owner
                                               (D1)Debtor 1
 Description of Property                Market (D2)Debtor 2 Lien                                Amount             Net       Value Claimed as Exempt
 and Address                             Value (J)Joint     Holder                               of Lien         Value Pursuant to NCGS 1C-1601(a)(2)
 .5 acres with FEMA                 4,500.00                                                                  1,125.00                         2,000.00
 Trailer                                                                                                   25% owned
 FMV: $4500.00 (TV
 $5,000.00 - 10%
 liquidation cost)
 Purchased: 2003
 Price: $1,500.00
 TV: $5,000.00
 Ownership: Debtor
 has a 25% share of
 property
 Parcel ID:
 2268-80-0385-0000
 Located: FEMA
 Trailer and Lot 59
 loop Road Bu

                                                                     VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(2): $                 2,000.00

          9. NCGS 1C-1601(a)(9) and 11 U.S.C. § 522 INDIVIDUAL RETIREMENT PLANS & RETIREMENT FUNDS, as defined in the Internal
Revenue Code, and any plan treated in the same manner as an individual retirement plan, including individual retirement accounts and Roth retirement
accounts as described in §§ 408(a) and 408A of the Internal Revenue Code, individual retirement annuities as described in § 408(b) of the Internal
Revenue Code, accounts established as part of a trust described in § 408(c) of the Internal Revenue Code, and funds in an account exempt from
taxation under § 401, 403, 408, 408A, 414, 457, or 510(a) of the Internal Revenue Code. For purposes of this subdivision, "Internal Revenue Code"
means Code as defined in G.S. 105-228.90.

 Type of Account\Location of Account\Last Four Digits of Account Number
 North Carolina State Retirement Plan

Schedule C-1 - Property Claimed as Exempt - 3/2016                                                                                                 Page 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                              Page 41 of 88


           10. NCGS 1C-1601(a)(10) FUNDS IN A COLLEGE SAVINGS PLAN, as qualified under § 529 of the Internal Revenue Code, and that are not
otherwise excluded from the estate pursuant to 11 U.S.C. §§ 541(b)(5)-(6), (e), not to exceed a cumulative limit of $25,000. If funds were placed in a
college savings plan within the 12 months prior to filing, the contributions must have been made in the ordinary course of the debtor's financial affairs
and must have been consistent with the debtor's past pattern of contributions. The exemption applies to funds for a child of the debtor that will actually be
used for the child's college or university expenses.

 College Savings Plan\Last Four Digits of Account Number\Value\Initials of Child Beneficiary
 -NONE-

        11. NCGS 1C-1601(a)(11) RETIREMENT BENEFITS UNDER THE RETIREMENT PLANS OF OTHER STATES AND GOVERNMENTAL
UNITS OF OTHER STATES (The debtor's interest is exempt only to the extent that these benefits are exempt under the laws of the state or
governmental unit under which the benefit plan is established).

 Name of Retirement Plan\State Governmental Unit\Last Four Digits of Identifying Number
 -NONE-

         12. NCGS 1C-1601(a)(12) ALIMONY, SUPPORT, SEPARATE MAINTENANCE, AND CHILD SUPPORT PAYMENTS OR FUNDS THAT
HAVE BEEN RECEIVED OR TO WHICH THE DEBTOR IS ENTITLED (The debtor's interest is exempt to the extent the payments or funds are
reasonably necessary for the support of the debtor or any dependent of the debtor).

 Type of Support\Amount\Location of Funds
 -NONE-

         13. TENANCY BY THE ENTIRETY. The following property is claimed as exempt pursuant to 11 U.S.C. § 522 and the law of the State of
North Carolina pertaining to property held as tenants by the entirety.

 Description of                                 Market Lien                                                           Amount                                  Net
 Property and Address                            Value Holder                                                          of Lien                              Value
 -NONE-

                                                                                                      VALUE CLAIMED AS EXEMPT: $                             0.00

            14. NORTH CAROLINA PENSION FUND EXEMPTIONS

           -NONE-

            15. OTHER EXEMPTIONS CLAIMED UNDER LAWS OF THE STATE OF NORTH CAROLINA

           Debtor earnings necessary to support family (all earnings from last 60 days), N.C. Gen. Stat.
 a.        § 1-362                                                                                                                                         28.00
           Debtor earnings necessary to support family (all earnings from last 60 days), N.C. Gen. Stat.
 b.        § 1-362                                                                                                                                       195.31
           Debtor earnings necessary to support family (all earnings from last 60 days), N.C. Gen. Stat.
 c.        § 1-362                                                                                                                                         25.00


            16. FEDERAL PENSION FUND EXEMPTIONS

           -NONE-

            17. OTHER EXEMPTIONS CLAIMED UNDER NONBANKRUPTCY FEDERAL LAW

           -NONE-

            18. RECENT PURCHASES

            (a). List tangible personal property purchased by the debtor within ninety (90) days of the filing of the bankruptcy petition.

                                                                     Market Lien                                                     Amount                   Net
 Description                                                          Value Holder                                                    of Lien               Value
 -NONE-




Schedule C-1 - Property Claimed as Exempt - 3/2016                                                                                                         Page 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                             Page 42 of 88


          (b). List any tangible personal property from 18(a) that is directly traceable to the liquidation or conversion of property that may be exempt and
that was not acquired by transferring or using additional property.

 Description of Replacement Property                                 Description of Property Liquidated or Converted that May Be Exempt



            19. The debtor's property is subject to the following claims:

 a.          Of the United States or its agencies as provided by federal law.
 b.          Of the State of North Carolina or its subdivisions for taxes, appearance bonds or fiduciary bonds;
 c.          Of a lien by a laborer for work done and performed for the person claiming the exemption, but only as to the specific property affected.
 d.          Of a lien by a mechanic for work done on the premises, but only as to the specific property affected.
 e.          For payment of obligations contracted for the purchase of specific real property affected.
 f.          For contractual security interests in specific property affected; provided, that the exemptions shall apply to the debtor's household goods
             notwithstanding any contract for a nonpossessory, nonpurchase money security interest in any such goods.
 g.          For statutory liens, on the specific property affected, other than judicial liens.
 h.          For child support, alimony or distributive award order pursuant to Chapter 50 of the General Statutes of North Carolina.
 i.          For criminal restitution orders docketed as civil judgments pursuant to G.S. 15A-1340.38.
 j.          Debts of a kind specified in 11 U.S.C. § 523(a)(1) (certain taxes), (5) (domestic support obligations).
 k.          Debts of a kind specified in 11 U.S.C. § 522(c).

                                         Nature of                          Amount of Description of                                  Value                 Net
 Claimant                                Claim                                 Claim Property                                    of Property              Value
 -NONE-

         None of the property listed in paragraph 18(a), except qualified replacement property under 18(b), has been included in this claim of
exemptions.


            None of the claims listed in paragraph 19 is subject to this claim of exemptions.


          I declare that to the extent any exemptions I have claimed appear on its face to exceed the amount allowed by the applicable statute, I claim
only the maximum amount allowed by statute.




Schedule C-1 - Property Claimed as Exempt - 3/2016                                                                                                        Page 5
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                        Page 43 of 88


                                    UNSWORN DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF INDIVIDUAL
                                               TO SCHEDULE C-1 - PROPERTY CLAIMED AS EXEMPT

          I,    Alisa D Copeland         , declare under penalty of perjury that I have read the foregoing Schedule C-1 - Property Claimed as Exempt,
consisting of 6 sheets, and that they are true and correct to the best of my knowledge, information and belief.




 Executed on: September 1, 2016                                              /s/ Alisa D Copeland
                                                                             Alisa D Copeland
                                                                                                               Debtor




Schedule C-1 - Property Claimed as Exempt - 3/2016                                                                                                 Page 6
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                            Page 44 of 88
Rev. 4/2006
                                                                  UNITED STATES BANKRUPTCY COURT
                                                                 EASTERN DISTRICT OF NORTH CAROLINA

 IN THE MATTER OF:                                                                                                  CASE NUMBER:
 Alisa D Copeland
             Debtor(s).


                                                           SCHEDULE C- 2 - PROPERTY CLAIMED AS EXEMPT

           I,  Alisa D Copeland          , claim the following property as exempt pursuant to 11 U.S.C. § 522 and the Federal bankruptcy law or the laws
of a State other than North Carolina, and nonbankruptcy Federal law: (Attach additional sheets if necessary).


                Check if debtor claims a homestead exemption that exceeds $125,000.


 Description of Property                       Specify Law Providing Each               Value of Claimed Exemption         Current Market Value of Property
                                               Exemption                                                                      Without Deducting Exemption
 -NONE-

            I declare that the following are the dates and addresses of my domicile during the 730 days preceding the date of the filing of the bankruptcy
petition:

 Dates                                                                            Addresses
 -NONE-

          I declare that to the extent that any exemptions I have claimed appears on its face to exceed the amount allowed by the applicable statute, I
claim only the maximum amount allowed by statute.


                                                UNSWORN DECLARATION UNDER PENALTY OF PERJURY
                                       ON BEHALF OF INDIVIDUAL TO SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

          I,    Alisa D Copeland         , declare under penalty of perjury that I have read the foregoing Schedule C-2 - Property Claimed as Exempt,
consisting of 1 sheets, and that they are true and correct to the best of my knowledge, information and belief.




 Executed on: September 1, 2016                                                   /s/ Alisa D Copeland
                                                                                  Alisa D Copeland
                                                                                                                  Debtor




Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
         Case 16-04735-5-SWH                           Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                           Page 45 of 88

 Fill in this information to identify your case:

 Debtor 1                   Alisa D Copeland
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NORTH CAROLINA

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         Coastal Federal Credit
 2.1                                                                                                              $9,945.00                     $0.00          $9,945.00
         Union                                    Describe the property that secures the claim:
         Creditor's Name                          Judgment entered in New Hanover
                                                  County, NC
         Attention: Managing                      Property no longer
         Agent                                    owned/surrendered
                                                  As of the date you file, the claim is: Check all that
         Po Box 58429                             apply.
         Raleigh, NC 27658                            Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Judgment 12CVD2707 - $7,164.00/6.0/prorata
       community debt

                                 Opened
                                 4/01/08
                                 Last Active
 Date debt was incurred          6/02/11                   Last 4 digits of account number        0001


 2.2     Furniture Fair                           Describe the property that secures the claim:                     $314.66                    $75.00             $239.66
         Creditor's Name                          Living Room Furniture

         Attn: Managing Agent
                                                  As of the date you file, the claim is: Check all that
         507 Bell Fork Rd.                        apply.
         Jacksonville, NC 28546                       Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
         Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                    Page 46 of 88

 Debtor 1 Alisa D Copeland                                                                                    Case number (if know)
               First Name                  Middle Name                      Last Name


       Check if this claim relates to a                  Other (including a right to offset)   PMSI IS $75.00/5.5/prorata 506 na
       community debt

 Date debt was incurred          11/2011                     Last 4 digits of account number         0170

         USDA Rural
 2.3                                                Describe the property that secures the claim:                   $60,798.81        $92,106.00             $0.00
         Development
         Creditor's Name                            2565 Bell Williams Road Burgaw,
                                                    NC 28425 Pender County
                                                    House & lot at 2565 Bell Williams
                                                    Rd., Burgaw, NC 28425, Pender
                                                    County
                                                    FMV: $92,106.00 (Appraised value
                                                    $99,106.00 Repair Costs estimated
         Attention: Managing                        at $7,000.00 dated 02/05/15)
         Agent                                      Purchased:
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 790170                            apply.
         St Louis, MO 63179                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   DOT-I/S (582.00 X 60) inc. admin arrear & pre-pet
       community debt                                                                          $12,944.05/prorata

                                 Opened
                                 5/06/99
                                 Last Active
 Date debt was incurred          3/15                        Last 4 digits of account number         4958


         Wells Fargo Dealer
 2.4                                                                                                                $15,724.23         $9,630.00             $0.00
         Services                                   Describe the property that secures the claim:
         Creditor's Name                            2007 Chevrolet Tahoe 250,000 miles
                                                    VIN: 1GNFC13C37R345095
                                                    FMV: $ 10,700.00 less 10% =
                                                    $9,630.00
                                                    Purchased: 05/2011
                                                    Price: $26,000.00

         Attention: Managing                        Ownership: Debtor & Non-Filing
         Agent                                      Co-Borrower
         MAC E2578-02B                              Vehicle is subject to a charge off in
         PO Box 3569                                the amount of $15,
                                                    As of the date you file, the claim is: Check all that
         Rancho Cucamonga, CA                       apply.
         91729                                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   PMSI - I/S$9,630.00/5.50/prorata 506
       community debt




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                         Page 47 of 88

 Debtor 1 Alisa D Copeland                                                                         Case number (if know)
              First Name                Middle Name                    Last Name


                              Opened
                              5/01/10
                              Last Active
 Date debt was incurred       11/09/12                    Last 4 digits of account number   5899



   Add the dollar value of your entries in Column A on this page. Write that number here:                           $86,782.70
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                          $86,782.70

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

        Name, Number, Street, City, State & Zip Code                                        On which line in Part 1 did you enter the creditor?   2.1
        Kirschbaum, Nanney, Keenan & Griffi
        Attention: Managing Agent                                                           Last 4 digits of account number   2707
        PO Box 19806
        Raleigh, NC 27619




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                             page 3 of 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
         Case 16-04735-5-SWH                            Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                               Page 48 of 88

 Fill in this information to identify your case:

 Debtor 1                     Alisa D Copeland
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                EASTERN DISTRICT OF NORTH CAROLINA

 Case number
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority             Nonpriority
                                                                                                                                          amount               amount
 2.1          Gillespie & Murphy, PA                                 Last 4 digits of account number                          $4,600.00         $4,600.00                   $0.00
              Priority Creditor's Name
              Attention: Managing Agent                              When was the debt incurred?           3/2016
              PO Drawer 888
              New Bern, NC 28563
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

              No                                                        Other. Specify   Deposits by individuals
              Yes                                                                        Attorney Fees




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 16
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                              28316                                           Best Case Bankruptcy
         Case 16-04735-5-SWH                            Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                                   Page 49 of 88
 Debtor 1 Alisa D Copeland                                                                                   Case number (if know)

 2.2        Nc Dept of Revenue                                       Last 4 digits of account number     9056                $2,500.00              $2,500.00                    $0.00
            Priority Creditor's Name
            Attn: Managing Agent                                     When was the debt incurred?
            P O Box 1168
            Raleigh, NC 27602
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                            Taxes

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        AFNI                                                       Last 4 digits of account number        7187                                                           $299.00
            Nonpriority Creditor's Name
            Attention: Bankruptcy                                      When was the debt incurred?            Opened 2/01/11
            1310 Martin Luther King Dr.
            Bloomington, IL 61701
            Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                 Debtor 1 only                                             Contingent
                 Debtor 2 only                                             Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                       Other. Specify   Collection Attorney AT&T




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 16
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                              Page 50 of 88
 Debtor 1 Alisa D Copeland                                                                                Case number (if know)

 4.2      CCM Enterprises                                            Last 4 digits of account number       1068                                                  $30.00
          Nonpriority Creditor's Name
          Attention: Managing Agent                                                                        Opened 12/01/06 Last Active
          Po Box 781317                                              When was the debt incurred?           1/22/07
          Wichita, KS 67278
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Returned Check


 4.3      Coastal Finance Co                                         Last 4 digits of account number       3204                                                 $361.75
          Nonpriority Creditor's Name
          Attn Managing Agent                                        When was the debt incurred?
          3602 Market Street
          Wilmington, NC 28403
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Money loaned


 4.4      Credbursrv                                                 Last 4 digits of account number       0136                                                 $184.00
          Nonpriority Creditor's Name
          Attention: Managing Agent                                  When was the debt incurred?           Opened 6/01/09
          Po Box 451
          Durham, NC 27702
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Collection




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 3 of 16
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                              Page 51 of 88
 Debtor 1 Alisa D Copeland                                                                                Case number (if know)

 4.5      Credit Collections Srv.                                    Last 4 digits of account number       9838                                                 $420.00
          Nonpriority Creditor's Name
          Attention: Managing Agent                                  When was the debt incurred?
          Po Box 9134
          Needham, MA 02494
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Auto Insurance - Not admitted


 4.6      Dba Paragon Revenue Gr                                     Last 4 digits of account number       3083                                                 $634.00
          Nonpriority Creditor's Name
          Attn: Managing Agent                                       When was the debt incurred?           Opened 6/01/14
          PO Box 126
          Concord, NC 28026
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney New Hanover Regional
              Yes                                                       Other. Specify   Med Cente


 4.7      Dba Paragon Revenue Gr                                     Last 4 digits of account number       1951                                                 $248.00
          Nonpriority Creditor's Name
          Attn: Managing Agent                                       When was the debt incurred?           Opened 9/01/13
          PO Box 126
          Concord, NC 28026
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney New Hanover Regional
              Yes                                                       Other. Specify   Med Cente




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 4 of 16
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                              Page 52 of 88
 Debtor 1 Alisa D Copeland                                                                                Case number (if know)

 4.8      Enhanced Recovery Corp                                     Last 4 digits of account number       3444                                                 $289.00
          Nonpriority Creditor's Name
          Attention: Client Services                                 When was the debt incurred?           Opened 8/01/11
          8014 Bayberry Rd
          Jacksonville, FL 32256
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   AT&T


 4.9      Fed Loan Serv                                              Last 4 digits of account number       0002                                              $7,626.00
          Nonpriority Creditor's Name
          Attn: Managing Agent                                                                             Opened 8/01/09 Last Active
          PO Box 60610                                               When was the debt incurred?           2/28/15
          Harrisburg, PA 17106
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.1
 0        Fed Loan Serv                                              Last 4 digits of account number       0001                                              $4,047.00
          Nonpriority Creditor's Name
          Attn: Managing Agent                                                                             Opened 8/01/09 Last Active
          PO Box 60610                                               When was the debt incurred?           2/28/15
          Harrisburg, PA 17106
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 5 of 16
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                              Page 53 of 88
 Debtor 1 Alisa D Copeland                                                                                Case number (if know)

 4.1
 1        Financial Data Systems                                     Last 4 digits of account number       6342                                                 $245.00
          Nonpriority Creditor's Name
          Attn: Managing Officer/Agent                               When was the debt incurred?           Opened 4/01/11
          1638 Military Cutoff Rd
          Wilmington, NC 28403
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Collection


 4.1
 2        Financial Data Systems                                     Last 4 digits of account number       0285                                                  $97.00
          Nonpriority Creditor's Name
          Attn: Managing Officer/Agent                               When was the debt incurred?           Opened 9/01/06
          1638 Military Cutoff Rd
          Wilmington, NC 28403
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Collection


 4.1
 3        Financial Data Systems                                     Last 4 digits of account number       0823                                                 $237.58
          Nonpriority Creditor's Name
          Attn: Managing Agent                                       When was the debt incurred?           08/12/12
          P O Box 688
          Wrightsville Beach, NC 28480
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Collection




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 6 of 16
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                              Page 54 of 88
 Debtor 1 Alisa D Copeland                                                                                Case number (if know)

 4.1
 4        Financial Data Systems                                     Last 4 digits of account number       1045                                                  $70.00
          Nonpriority Creditor's Name
          Attn: Managing Agent                                                                             Opened 2/01/13 Last Active
          1638 Military Cutoff Rd.                                   When was the debt incurred?           4/16/13
          Wilmington, NC 28403
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Attorney Ecep Ii Pa


 4.1
 5        Financial Data Systems                                     Last 4 digits of account number       2255                                                  $25.00
          Nonpriority Creditor's Name
          Attention: Managing Agent                                  When was the debt incurred?           Opened 3/01/14
          1638 Military Cutoff Road
          Wilmington, NC 28403
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Attorney Ecep Ii Pa


 4.1
 6        Financial Data Systems                                     Last 4 digits of account number       4753                                                  $25.00
          Nonpriority Creditor's Name
          Attention: Managing Agent                                  When was the debt incurred?           Opened 9/01/13
          1638 Military Cutoff Road
          Wilmington, NC 28403
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Attorney Ecep Ii Pa




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 7 of 16
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                              Page 55 of 88
 Debtor 1 Alisa D Copeland                                                                                Case number (if know)

 4.1
 7        Frost-Anett Company                                        Last 4 digits of account number       4695                                                 $337.67
          Nonpriority Creditor's Name
          Attn: Managing Agent                                       When was the debt incurred?
          PO Box 198988
          Nashville, TN 37219-8988
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Bill


 4.1
 8        Grace Care LLC                                             Last 4 digits of account number       9279                                                  $40.00
          Nonpriority Creditor's Name
          Attention: Managing Agent                                  When was the debt incurred?           08/12/2012
          PO Box 338
          Saint Leonard, MD 20685
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Bill


 4.1
 9        Jon Barry & Associates                                     Last 4 digits of account number       9621                                                 $516.00
          Nonpriority Creditor's Name
          Attention: Managing Agent                                  When was the debt incurred?           Opened 5/01/11
          Po Box 127
          Concord, NC 28026
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Collection




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 8 of 16
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                              Page 56 of 88
 Debtor 1 Alisa D Copeland                                                                                Case number (if know)

 4.2
 0        Jon Barry & Associates                                     Last 4 digits of account number       8980                                                 $342.00
          Nonpriority Creditor's Name
          Attention: Managing Agent                                  When was the debt incurred?           Opened 5/01/11
          Po Box 127
          Concord, NC 28026
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Collection


 4.2
 1        Kross/Lieberman & Ston                                     Last 4 digits of account number       5888                                                 $211.00
          Nonpriority Creditor's Name
          Attention: Managing Agent                                  When was the debt incurred?           Opened 5/01/08
          1110 Navaho Dr Ste 501
          Raleigh, NC 27609
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Collection


 4.2
 2        Pender Memorial Hospital                                   Last 4 digits of account number       1794                                                 $358.77
          Nonpriority Creditor's Name
          Attn: Managing Agent                                       When was the debt incurred?
          507 Fremont St.
          Burgaw, NC 28425
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Bill




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 9 of 16
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                              Page 57 of 88
 Debtor 1 Alisa D Copeland                                                                                Case number (if know)

 4.2
 3        Pender Memorial Hospital                                   Last 4 digits of account number       1806                                                 $920.80
          Nonpriority Creditor's Name
          Attn: Managing Agent                                       When was the debt incurred?
          507 Fremont St.
          Burgaw, NC 28425
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Bill


 4.2
 4        Pender Memorial Hospital                                   Last 4 digits of account number       2072                                                 $339.67
          Nonpriority Creditor's Name
          Attn: Managing Agent                                       When was the debt incurred?
          507 Fremont St.
          Burgaw, NC 28425
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Bill


 4.2
 5        Recovery One                                               Last 4 digits of account number       9245                                                 $227.00
          Nonpriority Creditor's Name
          Attention: Managing Agent                                  When was the debt incurred?
          5100 Parkcenter Ave
          Dublin, OH 43017
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Safelite Autoglass




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 10 of 16
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                              Page 58 of 88
 Debtor 1 Alisa D Copeland                                                                                Case number (if know)

 4.2
 6        Revenue Cycle Solutions                                    Last 4 digits of account number       3508                                                  $65.48
          Nonpriority Creditor's Name
          Attn: Managing Agent                                       When was the debt incurred?           10/24/12
          2507 Delaney Ave
          Wilmington, NC 28403
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Bill


 4.2
 7        Revenue Recovery Corp                                      Last 4 digits of account number       2782                                                  $98.00
          Nonpriority Creditor's Name
          Attention: Managing Agent                                  When was the debt incurred?           Opened 10/01/08
          612 S Gay St
          Knoxville, TN 37902
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Collection


 4.2
 8        TRS Recovery Services, Inc.                                Last 4 digits of account number       5005                                                  $48.75
          Nonpriority Creditor's Name
          Attn: Managing Agent                                       When was the debt incurred?
          P O Box 60022
          City Of Industry, CA 91716-0022
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Returned Check




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 11 of 16
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                              Page 59 of 88
 Debtor 1 Alisa D Copeland                                                                                Case number (if know)

 4.2
 9        Us Dept Of Education                                       Last 4 digits of account number       6861                                              $6,392.00
          Nonpriority Creditor's Name
          Attn: Borrowers Service Dept                                                                     Opened 8/06/09 Last Active
          Po Box 5609                                                When was the debt incurred?           11/19/12
          Greenville, TX 75403
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.3
 0        Us Dept Of Education                                       Last 4 digits of account number       6761                                              $3,608.00
          Nonpriority Creditor's Name
          Attn: Borrowers Service Dept                                                                     Opened 8/06/09 Last Active
          Po Box 5609                                                When was the debt incurred?           11/19/12
          Greenville, TX 75403
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.3
 1        Verizon                                                    Last 4 digits of account number       0001                                              $2,399.36
          Nonpriority Creditor's Name
          Attn: Managing Agent                                       When was the debt incurred?
          P O Box 105378
          Atlanta, GA 30348
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Wireless Contract




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 12 of 16
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                              Page 60 of 88
 Debtor 1 Alisa D Copeland                                                                                Case number (if know)

 4.3
 2         Wells Fargo Financial                                     Last 4 digits of account number       5899                                                    $0.00
           Nonpriority Creditor's Name
           Attn: Officer                                             When was the debt incurred?           12/2014
           MAC E2578-02B
           P O Box 3599
           Rancho Cucamonga, CA 91729
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Overrage on Chevy Tahoe, charged off


 4.3
 3         Williams & Fudge Inc                                      Last 4 digits of account number       7085                                                 $739.00
           Nonpriority Creditor's Name
           Attention: Managing Agent                                 When was the debt incurred?           Opened 3/01/11
           300 Chatham Ave Ste 201
           Rock Hill, SC 29730
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Cape Fear Community College


 4.3
 4         Wilmington Health                                         Last 4 digits of account number       8441                                                    $1.00
           Nonpriority Creditor's Name
           Attention: Managing Agent                                 When was the debt incurred?
           1202 Medical Center Drive
           Wilmington, NC 28401-7904
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Bill

 Part 3:      List Others to Be Notified About a Debt That You Already Listed



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 13 of 16
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                                Page 61 of 88
 Debtor 1 Alisa D Copeland                                                                                  Case number (if know)

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 1SDNAFA11                                                     Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attention: Managing Agent                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 1022
 Wixom, MI 48393-1022
                                                               Last 4 digits of account number                    4695

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cape Fear Commuity College                                    Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attention: Finance Department                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 319 N. Front Street
 Wilmington, NC 28401
                                                               Last 4 digits of account number                    7085

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ECEP II PA                                                    Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attention: Managing Agent                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 2249
 Pawleys Island, SC 29585
                                                               Last 4 digits of account number                    1045,2255,4753

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ECEPII PA                                                     Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attention: Managing Agent                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 PO BOx 2249
 Pawleys Island, SC 29585
                                                               Last 4 digits of account number                    0923

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Health Science Found                                          Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Managing Agent                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 P O Box 890554
 Charlotte, NC 28289-0554
                                                               Last 4 digits of account number                    3508

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 New Hanover Reg Med Center                                    Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Attn Managing Agent                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 P O Box 9000
 Wilmington, NC 28402
                                                               Last 4 digits of account number                    3083

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 New Hanover Reg Med Center                                    Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Attn Managing Agent                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 P O Box 9000
 Wilmington, NC 28402
                                                               Last 4 digits of account number                    1951

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Paragon Revenue Group                                         Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attention: Managing Agent                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 216 LePhilip Ct
 Concord, NC 28025-2954
                                                               Last 4 digits of account number                    9621

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Paragon Revenue Group                                         Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attention: Managing Agent                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 216 LePhilip Ct
 Concord, NC 28025-2954
                                                               Last 4 digits of account number                    8980

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 14 of 16
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                                Page 62 of 88
 Debtor 1 Alisa D Copeland                                                                                Case number (if know)

 Pender Memorial Hospital                                      Line 4.22 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
 Attention: Managing Agent                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 1857
 Southgate, MI 48195-0857
                                                               Last 4 digits of account number                  1794

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Pender Memorial Hospital                                      Line 4.23 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attention: Managing Agent                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 1857
 Southgate, MI 48195-0857
                                                               Last 4 digits of account number                  1806

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Pender Memorial Hospital                                      Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attention: Managing Agent                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 1857
 Southgate, MI 48195-0857
                                                               Last 4 digits of account number                  2072

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Progressive Insurance                                         Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Attn: Managing Agent                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 31260
 Tampa, FL 33631
                                                               Last 4 digits of account number                  9838

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Southeastern Anesthesiology                                   Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attention: Managing Agent                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 535440
 Atlanta, GA 30353
                                                               Last 4 digits of account number                  4695

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 TRS Recovery Services, Inc.                                   Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Managing Agent                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 5251 Westheimer
 Houston, TX 77056
                                                               Last 4 digits of account number                  5005

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 TRS Recovery Services, Inc.                                   Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Managing Agent                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 4857
 Houston, TX 77210-4857
                                                               Last 4 digits of account number                  5005

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 TRS Recovery Services, Inc.                                   Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Processing Center                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Denver, CO 80217
                                                               Last 4 digits of account number                  5005

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Valentine & Kebartas Inc.                                     Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Managing Agent                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 P O Box 325
 Lawrence, MA 01842
                                                               Last 4 digits of account number                  0001

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Verizon                                                       Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Managing Agent                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 P O Box 660108
 Dallas, TX 75266-0108
                                                               Last 4 digits of account number                  0001

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 15 of 16
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                                Page 63 of 88
 Debtor 1 Alisa D Copeland                                                                                Case number (if know)

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wilmington Health                                             Line 4.34 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attention: Managing Agent                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 600002
 Raleigh, NC 27675
                                                               Last 4 digits of account number                    8441

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                     2,500.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                     4,600.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                     7,100.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                    21,673.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                     9,809.83

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                    31,482.83




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 16 of 16
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
         Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                Page 64 of 88

 Fill in this information to identify your case:

 Debtor 1                  Alisa D Copeland
                           First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               EASTERN DISTRICT OF NORTH CAROLINA

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
         Case 16-04735-5-SWH                               Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                    Page 65 of 88

 Fill in this information to identify your case:

 Debtor 1                   Alisa D Copeland
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 EASTERN DISTRICT OF NORTH CAROLINA

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         Bertha Martin                                                                        Schedule D, line   2.4
                121 King Arthur Drive                                                                Schedule E/F, line
                Wilmington, NC 28412
                                                                                                     Schedule G
                                                                                                   Wells Fargo Dealer Services




Official Form 106H                                                             Schedule H: Your Codebtors                                  Page 1 of 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
        Case 16-04735-5-SWH                       Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                 Page 66 of 88



Fill in this information to identify your case:

Debtor 1                      Alisa D Copeland

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF NORTH CAROLINA

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation            Data Manager
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       New Hanover County School

       Occupation may include student        Employer's address    Attention: Managing Agent
       or homemaker, if it applies.                                6410 Carolina Beach Road
                                                                   Wilmington, NC 28412

                                             How long employed there?         1 year

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $        2,687.00     $               N/A

3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00    +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $      2,687.00           $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
      Case 16-04735-5-SWH                    Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                     Page 67 of 88


Debtor 1    Alisa D Copeland                                                                      Case number (if known)



                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      2,687.00       $             N/A

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $        224.10       $               N/A
      5b.   Mandatory contributions for retirement plans                                   5b.        $        161.22       $               N/A
      5c.   Voluntary contributions for retirement plans                                   5c.        $          0.00       $               N/A
      5d.   Required repayments of retirement fund loans                                   5d.        $          0.00       $               N/A
      5e.   Insurance                                                                      5e.        $        169.68       $               N/A
      5f.   Domestic support obligations                                                   5f.        $          0.00       $               N/A
      5g.   Union dues                                                                     5g.        $          0.00       $               N/A
      5h.   Other deductions. Specify:                                                     5h.+       $          0.00 +     $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            555.00       $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          2,132.00       $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00   $               N/A
      8b. Interest and dividends                                                           8b.        $              0.00   $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $               N/A
      8d. Unemployment compensation                                                        8d.        $              0.00   $               N/A
      8e. Social Security                                                                  8e.        $              0.00   $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.        $              0.00   $               N/A
      8g. Pension or retirement income                                                     8g.        $              0.00   $               N/A
                                               Contribution from Household
      8h.   Other monthly income. Specify:     Members                                     8h.+ $              200.00 + $                   N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            200.00       $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              2,332.00 + $           N/A = $          2,332.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                  0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.   $         2,332.00
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: None Anticipated




Official Form 106I                                                     Schedule I: Your Income                                                     page 2
     Case 16-04735-5-SWH                         Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                       Page 68 of 88



Fill in this information to identify your case:

Debtor 1                 Alisa D Copeland                                                                  Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF NORTH CAROLINA                                         MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Daughter                             23                   Yes
                                                                                                                                             No
                                                                                   Daughter                             24                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                   0.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             50.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
      Case 16-04735-5-SWH                       Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                           Page 69 of 88


Debtor 1     Alisa D Copeland                                                                          Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 250.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 376.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                400.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 40.00
10.   Personal care products and services                                                    10. $                                                  20.00
11.   Medical and dental expenses                                                            11. $                                                  30.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 125.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                   75.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Personal Property                                                             16. $                                                  19.17
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                    0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify: Chapter 13 Plan Payment                                         17c. $                                                  922.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Grooming/Haircuts                                                   21. +$                                                 20.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       2,327.17
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       2,327.17
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               2,332.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              2,327.17

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                    4.83

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: None Anticipated




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
         Case 16-04735-5-SWH                                Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                                       Page 70 of 88

 Fill in this information to identify your case:

 Debtor 1                   Alisa D Copeland
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  EASTERN DISTRICT OF NORTH CAROLINA

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $              93,231.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              33,152.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             126,383.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $              86,782.70

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                7,100.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              31,482.83


                                                                                                                                     Your total liabilities $               125,365.53


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                2,332.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                2,327.17

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
       Case 16-04735-5-SWH                             Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                              Page 71 of 88
 Debtor 1      Alisa D Copeland                                                           Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $         2,887.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $             2,500.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            21,673.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             24,173.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
         Case 16-04735-5-SWH                           Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                                Page 72 of 88




 Fill in this information to identify your case:

 Debtor 1                    Alisa D Copeland
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NORTH CAROLINA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Alisa D Copeland                                                      X
              Alisa D Copeland                                                          Signature of Debtor 2
              Signature of Debtor 1

              Date       September 1, 2016                                              Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
         Case 16-04735-5-SWH        Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30      Page 73 of 88

 In re     Alisa D Copeland                                               Case No.
                                                      Debtor(s)



                              DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                 Attachment A

 Inclusion of any debt listed on Schedules D, E or F shall not be construed as an admission as to it's
validity including but not limited to the propriety/amount of charges/fees, interest rate or standing to
assert a claim based on the alleged debt.
         Case 16-04735-5-SWH                           Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                             Page 74 of 88
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re       Alisa D Copeland                                                                                 Case No.
                                                                                    Debtor(s)                 Chapter       13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  5,000.00
             Prior to the filing of this statement I have received                                        $                      400.00
             Balance Due                                                                                  $                  4,600.00

2.     $    310.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):            Chapter 13 Plan

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Refer to attorney fee contract attached hereto. (Chapter 13 Cases only)

                  Representation of debtors in an adversary proceeding or other contested bankruptcy matters. (Chapter 7 cases
                  only)
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     September 1, 2016                                                              /s/ Robert J. Anderson
     Date                                                                           Robert J. Anderson 37992
                                                                                    Signature of Attorney
                                                                                    Gillespie & Murphy PA
                                                                                    P.O. Drawer 888
                                                                                    New Bern, NC 28563
                                                                                    (252) 636-2225 Fax: (252) 636-0625
                                                                                    gmpa@lawyersforchrist.com
                                                                                    Name of law firm




Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
Case 16-04735-5-SWH         Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30             Page 75 of 88




                               Gillespie and Murphy, P.A.
                                        Attorneys at Law
                                   gmpa@lawyersforchrist.com
                                        1-800-453-9851
  320 Middle Street                                                  321 N. Front Street
  Post Office Drawer 888                                             Wilmington, NC 28401
  New Bern, NC 28563                                                 (910) 254-3456
  (252) 636-2225

       Client Authorization for Legal Services, Bankruptcy Fee Contract, Chapter 13 Case

  The undersigned “Client(s)” retains the law offices of Gillespie and Murphy, P.A. (hereafter
  referred to as “attorney”) for the purpose of filing a petition under Chapter 13 of the U.S.
  Bankruptcy Code (the “case.”) The attorney shall represent the client in a Chapter 13 bankruptcy
  proceeding before the United States Bankruptcy Court for the Eastern District of North Carolina,
  subject to the terms of this agreement as set forth herein.

  1.      FEES AND COSTS AND TERMS OF PAYMENT:
          a.   Client(s) agree(s) attorney shall be paid a total of $ 5,333.00         .
               This amount includes the following:
               1.          $5,000.00          attorney fees;
               2.          $ 23.00            credit report fee ($23.00 per person/$43.00 joint);
               3.          $ 310.00           bankruptcy court filing fee;
               4.                             other services

          b.     The following amount of fees and costs must be paid prior to the final preparation
                 of and filing of the Chapter 13 bankruptcy petition:
                 1.          $ 400.00           up front portion of attorney fee;
                 2.          $    23.00         credit report fee;
                 3.          $ 310.00           bankruptcy court filing fee;
                 4.                             other services

          TOTAL UP FRONT FEES AND COSTS:                $ 733.00

          c.     The balance of the attorney fee of $ 4,600.00     shall be paid through the
                 client(s) Chapter 13 plan in accordance with the applicable provisions of the
                 Bankruptcy Code and the applicable provisions of the Local Rules of the
                 Bankruptcy Court for the Eastern District of North Carolina (EDNC). Attorney
                 fees to be paid through the Chapter 13 plan (the portion of the attorney fee not
                 paid upfront/pre-petition and any additional compensation awarded the attorney
                 upon application to the court pursuant to Rule 2016-1 (a)(9)(A) herein) shall be
                 treated and paid by the Trustee as an administrative expense of the Chapter 13
                 case. These fees shall be paid by the Trustee during the first year of the plan
                 unless the court directs otherwise. The Trustee may without application to the
                 court, modify the Chapter 13 plan to extend the duration of the plan and/or
Case 16-04735-5-SWH     Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                Page 76 of 88




             increase the monthly amount of the plan payment in order to provide the funds
             necessary to pay the attorney fees as set forth herein. The Trustee must notify the
             attorney and the client(s) of any necessary plan modifications.

       d.    The undersigned has paid $ 733.00         upon execution of the agreement. The
             remaining balance of the upfront attorney fee and cost are $ 0.00 and must be
             paid prior to the preparation and filing of the Chapter 13 bankruptcy petition. The
             Chapter 13 petition shall not be filed, in accordance with the bankruptcy
             code, until all upfront fees and costs, as set forth above are paid and all
             information requested by attorney is provided, the petition is prepared,
             reviewed by “Client(s)” for accuracy and signed for verification by
             “Client(s)”.

             Client agrees that if payments are not made as outlined above, attorney may
             immediately close client(s) file, in which case no further action needs to be taken
             or services rendered by attorney and said file shall be closed. The bankruptcy
             court filing fee shall be returned to the client(s) with all other fees paid non-
             refundable to attorney. In the event the “Client(s)” has not paid the up-front fees
             and costs within 180 days of the date of this Agreement, it shall be presumed that
             the “Client(s)” has elected not to file bankruptcy. Any attorney fees paid and
             costs paid for services such as, but not limited to, credit report, credit counseling,
             debtor education or similar services after this 180 days shall be forfeited by
             Client(s) to attorney as non-refundable.

       e.    Additional fees may be awarded to attorney for services provided to client in
             accordance with the local rules of the bankruptcy court for the EDNC.

             The fee schedule set forth in paragraph 6 (A) - (U) below reflects the current fees
             allowed for the services described. These fees are adjusted upwards by the Court
             from time to time and any services provided will be billed at the rate in existence
             at the time such services are rendered.

             In accordance with local rule 2016-1 of the Bankruptcy Court for the Eastern
             District of North Carolina, the following are the rules and procedures governing
             the award of attorney’s fees in Chapter 13 cases. Client(s) acknowledges these
             rules and procedures and agrees to the terms thereof.

             (1)    AMOUNT OF STANDARD BASE FEE: The standard base fee in a
                    Chapter 13 case is as provided in the statement of approved
                    compensation published annually by the clerk and included in the
                    Administrative Guide to Practice and Procedure. ($5,000.00) Though
                    the standard fee will typically be approved by the court without
                    hearing, the trustee may recommend, in appropriate cases, that a
                    lower fee be allowed. In recommending a standard base fee in
                    converted cases, the trustee shall take into consideration the
Case 16-04735-5-SWH   Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30            Page 77 of 88




                   compensation already received.
             (2)   SERVICES INCLUDED IN THE BASE FEE. The standard fee
                   includes the basic services reasonably necessary to properly represent
                   the debtor before the bankruptcy court during the first 12 months
                   after filing the case.
             (3)   APPLYING FOR A HIGHER BASE FEE. Applications for approval
                   of a base fee higher that the standard base fee must be filed by the
                   debtor’s attorney within 60 days after the conclusion of the creditor’s
                   meeting under § 341 of the Bankruptcy Code.
             (4)   NON-BASE FEE SERVICES DEFINED. The following services are
                   not covered by the standard base fee, and additional compensation for
                   these services may be awarded by the court:
                   (A)     motion for authority to sell real property;
                   (B)     application to incur debt
                   (C)     motion to extend or impose the automatic stay for repeat filers;
                   (D)     prosecution or defense of adversary proceedings;
                   (E)     motion or adversary proceeding to value collateral and avoid
                           mortgage;
                   (F)     motion to avoid lien;
                   (G)     filing of formal motions or responses pertaining to three or
                           more matters arising during the first year of the case, including
                           but not limited to the services listed below in subsection (6);
                           and
                   (H)     any other service that, in the discretion of the court, reasonably
                           warrants additional compensation.
             (5)   APPROVAL OF NON-BASE FEES. Except as specified in subsection
                   (6), applications for fees for any non-base fee services provided to a
                   chapter 13 debtor must be approved by the court. Notice of each
                   application for fees and expenses in any amount under $1,000 must be
                   sent to each debtor, the trustee, and the bankruptcy administrator.
                   Notice of each application for fees and expenses of $1,000 and above
                   must be given to all parties in interest.
             (6)   PRESUMPTIVE NON-BASE FEES/APPROVAL/NOTICE. The list
                   of presumptively reasonable non-base fee services are contained in the
                   statement of approved compensation published by the clerk and
                   included in the Administrative Guide to Practice and Procedure.
                   Applications for the presumptive non-base fee must be filed with a
                   notice verifying completion of the service and a certificate of service
                   evidencing service of the notice on each debtor, the trustee and the
                   bankruptcy administrator. The applications for presumptive non-
                   base fees will automatically be approved by the court. Alternatively,
                   the debtor’s attorney may apply to the court for approval of non-base
                   fees on a “time and expense” basis pursuant to Rule 2016 of the
                   Federal Rules of Bankruptcy Procedure and 11 U.S.C. § 330.
                   Presumptive Non-base Fees effective September 1, 2012 and modified
Case 16-04735-5-SWH   Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30          Page 78 of 88




                   effective August 13, 2013 as outlined in the Administrative Guide are
                   listed below:


                   (A) Motion to extend or impose the automatic stay
                           for repeat filers                                $400.00
                   (B) Motion to use interrogatories, and interrogatories   $150.00
                   (C) Motion for turnover                                  $400.00
                   (D) Motion to avoid lien                                 $450.00
                   (E) Motion to modify plan post-confirmation              $450.00
                   (F) Motion to substitute collateral                      $400.00
                   (G) Motion for authority to sell property                $450.00
                   (H) Application to incur debt                            $200.00
                   (I) Defense of motion for relief from stay and/or
                           co-debtor stay                                   $500.00
                   (J) Handling of an insurance inquiry received more
                           than twelve (12) months after the Chapter
                           13 case is filed                                 $100.00
                   (K) Motion to set aside dismissal                        $350.00
                   (L) Defense of motion to dismiss                         $250.00
                   (M) Motion for hardship discharge                        $500.00
                   (N) Objection to claims                                  $150.00
                   (O) Notice to abandon property                           $150.00
                   (P) Motion to Value Collateral and Avoid Mortgage        $500.00
                   (Q) Filing of proof of claim                             $150.00
                   (R) Motion to Deem Mortgage Current (to be paid
                           directly by the debtor)                          $350.00
                   (S) Amendment to schedules or statement of
                           Financial Affairs                                $100.00
                   (T) Objection to Confirmation                            $350.00
                   (U) Motion to Surrender                                  $150.00

                   COSTS APPLIED TO ALL: When the costs for copying and postage
                   exceed $25.00, the actual amount, plus the presumptive fee, shall be
                   reimbursed to counsel.

             (7)   DISCLOSURE OF FEE PROCEDURES. Every attorney for a
                   chapter 13 debtor must disclose to the debtor the procedures
                   applicable in this district to awards of attorneys’ fees in chapter 13
                   cases.
             (8)   INTERIM APPROVAL OF PARTIAL BASE FEE. An attorney fee
                   as specified in the Administrative Guide to Practice and Procedure for
                   services provided to the debtor up to and including the petition date is
                   authorized and shall be considered part of the base fee. Any amount
                   in excess of the base fee collected by the attorney prior to filing the
                   chapter 13 petition must be held in the attorney’s client trust account
                   pending further order of the court or approval of the fees in
                   accordance with this rule.
Case 16-04735-5-SWH      Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                Page 79 of 88




              (9)    PAYMENT OF ATTORNEY FEES/MODIFICATION OF PLAN.
                     The following will be treated and paid as administrative expenses of
                     the chapter 13 case:
                     (A)    the standard base fee, less any partial base fee paid prior to
                            filing the chapter 13 petition; and
                     (B)    any additional amounts awarded in excess of the standard base
                            fee or for non-base fee services.
              These fees shall be paid by the trustee at the rate set in the Administrative
              Guide to Practice and Procedure unless the court directs otherwise. The
              trustee may, without application to the court, modify the chapter 13 plan to
              extend the duration of the plan and/or increase the monthly amount of the
              plan payment in order to provide the funds necessary to pay attorney fees.
              The trustee must notify the debtor and the debtor’s attorney of the plan
              modification.
       f.     Upon the payment of the up-front portion of the attorney fees set forth in 1(b)
              above, a file shall be opened and all fees paid to attorney towards the up-front
              attorney fees shall be deemed non-refundable. In the event that client elects not to
              file bankruptcy, all monies paid will be first applied to the up-front attorney’s fees
              and non-refundable, then to other costs incurred by attorney, then to the cost of
              credit counseling fees, credit report fees, bankruptcy court filing fees or other
              similar fees/costs and if not expended for such purpose shall be refundable to the
              “Client(s)’ upon request.

       g.     If additional services, not included in the standard base fee nor included in local
              rule 2016-1 of the EDNC Bankruptcy Rules, do become necessary, the “Client(s)”
              agree(s) to pay for these additional services, upon request, in advance, before the
              services are rendered at the hourly rate of $300.00 per hour, or a flat fee which
              payments will be deposited and kept in attorney’s client trust account until any
              necessary court approval is obtained. In the alternative, the attorney may agree to
              provide the service and to apply to the Court to add the fees for said services paid
              through clients Chapter 13 plan, instead of requiring payment directly from
              client(s).

       h.     CONTINGENCY FEE ELECTION - In the event the attorney files an action to
              address creditor misconduct, including adversary proceedings or motions for
              sanctions the attorney, in his sole discretion, may elect to provide these services
              on a “contingency fee” basis. Under this election, the client agrees that the
              attorney shall be compensated for performing these services through payment to
              him of a minimum of 33% of any gross recovery obtained on the client’s behalf,
              subject to Bankruptcy Court approval.


  2.   LEGAL SERVICES PROVIDED:
       a.  For the fees set forth in 1(a) above, the attorney shall provide basic services
           reasonably necessary to properly prepare the chapter 13 bankruptcy petition and
Case 16-04735-5-SWH      Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30               Page 80 of 88




              represent the “Client(s)” before the bankruptcy court during the first 12 months
              after filing the petition, however, additional fees may be awarded during this 12
              months in accordance with the Local Rule 2016-1(a)4(E) of the bankruptcy court
              for the Eastern District of North Carolina as set forth in 1(e) above. These
              services include the following:
              1.       Analysis of “Client(s)” financial situation and advising Client(s);
              2.       Preparation of petition, schedules, statement of financial affairs,
                       supplemental local forms, chapter 13 plan and mailing matrix;
              3.       Correspondence to “Client(s)” regarding “Client(s)’ responsibilities and
                       attendance of Section 341 meeting;
              4.       Preparation for and representing “Client(s)” at Section 341 meetings;
              5.       Exemption planning;
              6.       Providing information to the court, the trustee and creditors in accordance
                       with the Bankruptcy Code and the Local Rules of the EDNC;
              7.       Review of Orders related to the case;
              8.       Maintaining custody and control of case file;
              9.       Obtaining copies of proof of claims and review, if necessary;
              10.      If needed, preparation and filing of proofs of claim on your behalf for your
                       creditors;
              11.      Defending objection to confirmation of your chapter 13 plan;
              12.      Assumption and rejections of unexpired leases and executory contracts;
              13.      Preparation for and attendance at valuation hearings;
              14.      Calculation of plan payment modifications (no motion filed);
              15.      Adding creditor addresses to mailing matrix as needed (however,
                       “Client(s)” must pay the fee charged by the court for any such amendment
                       which is currently $30.00 per amendment);
              16.      Responding to “Client(s)’contacts regarding changes in “Client(s)”
                       financial and personal circumstances and advising the court and trustee of
                       the same, if necessary, for the proper administration of “Client(s)” case;
              17.      Communicating with “Client(s)”as needed for the proper administration of
                       “Client(s)” case;
              18.      Communicating with creditors as needed for the proper administration of
                       “Client(s)” case;
              19.      Communicating with the court and trustee as needed for the proper
                       administration of “Client(s)” case;

       b.     However, in the event some unusual or unexpected event or action occurs that
              requires more time, expense, and labor for any of the above, the attorney has the
              right to seek an award of fees through the court for such time, expense and labor.

  3.   LEGAL SERVICES NOT PROVIDED:
       a.  Conversion to Chapter 7;
       b.  Representation in any action objecting to discharge in bankruptcy or discharge of
           a particular debt;
       c.  Representation in any Adversary Proceeding filed by the Trustee or creditor or
Case 16-04735-5-SWH      Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30              Page 81 of 88




              Bankruptcy Administrator;
       d.     Post-discharge actions;
       e.     Representation before any tax authority
       f.     The cost of long distance telephone calls and the cost of delivery (other than
              postage)
       g.     Fielding telephone calls and correspondence from client’s creditors prior to filing
              of case with the court
       h.     Searching title or lien records
       i.     Services initiated to resolve issues concerning concealment of debts or assets or
              misrepresentation of facts
       j.     Non-appearances at court or the first meeting of creditors
       k.     Negotiating or arranging for the retention, redemption. or post discharge release of
              collateral
       l.     Reaffirmation agreements and/or motions for redemption

  4.   CLIENT(S) OBLIGATIONS:
       a.   To pay the fees set out above;
       b.   To make all payments required by the Client(s) Chapter 13 plan to the Chapter 13
            Trustee and pay all outside creditor payments pursuant to “Client(s)” Chapter 13
            plan;
       c.   To provide accurately, completely and honestly all the information necessary to
            properly analyze the client(s) financial situation and prepare the chapter 13
            bankruptcy petition, schedules, statement of financial affairs, supplemental local
            forms, chapter 13 plan, mailing matrix and other documents as required;
       d.   To thoroughly review and sign the bankruptcy petition, schedules, statement of
            financial affairs, supplemental local forms, chapter 13 plan, mailing matrix and
            other documents as required and advise attorney of any inaccuracies or changes
            needed;
       e.   To keep the attorney advised at all times of all the client(s) current contact
            information, including but not limited to, mailing addresses, physical address,
            email address, work phone number, home phone number, cell number and any
            other means of contact;
       f.   To attend the section 341 meeting of creditors and any other court hearings set in
            “Client(s)” case and to arrive in a timely manner dressed appropriate for a court
            proceeding;
       g.   To provide any information requested by the Chapter 13 Trustee, Court,
            Bankruptcy Administrator, Attorney for “Client(s)”, any member of Attorney’s
            staff and any other party in the case, unless the Court rules the “Client(s)” is/are
            not required to provide the information;
       h.   To respond immediately to any phone call, correspondence and requests by the
            Attorney or staff of Attorney;
       i.   Comply with the obligations placed upon the “Client(s)’ by Local Rule 4002-1(g),
            a copy of which is attached hereto;
       j.   To do everything asked of “Client(s)’ by attorney, Trustee, Court and Bankruptcy
            Administrator for proper administration of “Client(s)” case.
Case 16-04735-5-SWH       Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                Page 82 of 88




       k.     Not to give out attorney’s name, telephone number or address prior to the filing
              date of clients’ case, unless clients have paid attorney at least $200.00 of the
              attorney fees due.
       l.     To promptly provide the Attorney with copies of any judgments, summons, writs
              of execution, foreclosure notices and all other documentation or legal process (law
              suits or other proceedings) for matters in which the Client is a party.

  5.   POWER OF ATTORNEY REGARDING PAYMENTS MADE BY “CLIENT(S)”
       a.  Pursuant to Local Rule 3070-1(a) of Local Rules of the EDNC Bankruptcy Court,
           upon conversion or dismissal of your Chapter 13 case prior to confirmation, and
           unless the Court orders otherwise, the Chapter 13 Trustee shall return to the
           debtor any payments made by the debtor under the proposed plan, less an
           administrative expense claim under 11 U.S.C. 503(b). Pursuant to the current
           practice in the EDNC, if after administrative expenses are paid, there is still
           money remaining, the Chapter 13 Trustee will return the payment made by the
           debtor to the office of the attorney representing debtor that filed the case instead
           of sending the money directly to the debtor.
           THE “CLIENT(S)” HEREBY EXPRESSLY GRANTS ATTORNEY A
           POWER OF ATTORNEY TO NEGOTIATE ANY FUNDS RECEIVED
           FROM THE CHAPTER 13 TRUSTEE’S OFFICE UPON CONVERSION
           OR DISMISSAL OF THE CHAPTER 13 CASE PRIOR TO
           CONFIRMATION IF THE ATTORNEY FEES THAT WERE TO BE PAID
           THROUGH THE CHAPTER 13 PLAN PURSUANT TO THIS
           AGREEMENT ARE STILL DUE AND OWING TO ATTORNEY AT THE
           TIME OF THE CONVERSION OR DISMISSAL.
       b.  Client understands and agrees that all attorney fees due attorney pursuant to this
           agreement are due to Attorney regardless of whether the case is confirmed or
           dismissed prior to confirmation and “Client(s)” is/are not entitled to any refund of
           any fees paid to Attorney pursuant to this agreement or by Chapter 13 Trustee.

  6.   NO PROMISES OF OUTCOME, FUTURE CREDIT OR TAX ADVISE:
       a.   Client acknowledges that neither attorney nor attorney’s staff has made any
            promises or guarantees about the outcome of “Client(s)” case or the “Client(s)”
            ability to obtain future credit.
       b.   The attorney representation of the “Client(s)” specifically does not include and the
            attorney has not undertaken to give tax advice to the client, and attorney has
            advised the debtor to seek separate counsel or a CPA or tax advisor with regard to
            any tax advice or tax ramifications of the filing of any bankruptcy proceeding.

  7.   WITHDRAWAL FROM REPRESENTATION:
       The attorney reserves the right to withdraw from this matter (i) if the client fails to honor
       any part/portion of this agreement, (ii) for any just reason as permitted or required under
       the North Carolina State Bar’s Rules of Professional Conduct, (iii) as permitted by the
       rules of courts of the State of North Carolina and/or the Bankruptcy Court. Notification
       of withdrawal shall be made in writing to the client. Attorney shall have an automatic
       right to withdraw from this matter if a check delivered by the client to the attorney is
       returned for insufficient funds.
Case 16-04735-5-SWH        Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30               Page 83 of 88




  8.    RETENTION OF CLIENT(S) RECORDS:
        Attorney shall scan for retention any of the books, papers, and/or records related to the
        representation of the client and return all hard copies to the client, if requested.

        Client acknowledges and agrees that client's file (with the exception of personal
        belongings and original documents such as deeds, wills, contracts, etc.) may be destroyed
        on or after six (6) years from the date client's file is closed. No notice, written or
        otherwise, shall be provided to client of file destruction following this six year period.

  9.    READ CAREFULLY: Client understands that no paralegal, secretary, or other
        non-lawyer working at the offices of Gillespie and Murphy, P.A., has the authority
        (i) to give legal advice, (ii) to recommend that client should or should not file for the
        protection of bankruptcy, (iii) to recommend that client file under one bankruptcy
        chapter rather than another chapter, to the extent that such advice or
        recommendation would involve the exercise of independent legal judgement. Client
        acknowledges that no one employed by or affiliated with the law offices of Gillespie
        and Murphy, P.A., other than an attorney, has given such advice or made any such
        recommendation to the client.

  10.   Caution: Client understands that if client is behind in payments on a car, mobile home,
        furniture loan, lease or other secured debt, the bankruptcy laws do not stop a creditor
        from repossessing or otherwise taking such property until such time as the client’s case
        gets filed with the Bankruptcy Court. Similarly, client understands that foreclosure on a
        home or a piece of land cannot be stopped until the clients case gets filed with the
        Bankruptcy Court.

  11.   Returned Checks: Client will be charged (i) a processing fee of $25.00 for any check in
        which payment has been refused by the payor bank because of insufficient funds or
        because the drawer did not have an account at that bank and (ii) any service charges
        imposed on the attorney by a bank or depository for processing the dishonored check, pursuant
        to the provisions of N.C.G.S. section 6-21.3 and 25-3-506.

  12.   Payments: All payments must be made in cash, certified check, cashiers check, or money
        order unless approved by the attorney handling the case. Any payments made by personal
        check will delay the filing of the related bankruptcy petition for ten (10) business days to
        allow checks to clear the bank.
Case 16-04735-5-SWH         Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30               Page 84 of 88




  Client acknowledges that client has read and understands all the terms of this client authorization
  for legal services/fee contract. Client also acknowledges having received a copy of this document
  which consists of     11      pages.

  /s/ Alisa D Copeland                                              8/31/2016
  Signature of Client                                                    Date

   Alisa D Copeland
  PRINT NAME
Case 16-04735-5-SWH            Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                         Page 85 of 88



                                                   RULE 4002-1
                                                 DEBTOR DUTIES

  (a)    The following shall apply to individual debtors in all cases.
         (1)      FINANCIAL INFORMATION. Every individual debtor shall bring to the
                  meeting of creditors under §341 and make available to the trustee evidence of current income,
                  including copies of all payment advices or other evidence of payment, if any, with all but the last
                  four digits of the debtor’s social security number redacted, received by the debtor from an
                  employer within 60 days before the filing of the petition.
         (2)      TAX RETURN. At the meeting of creditors under §341, the debtor shall provide to the trustee a
                  copy of the debtor’s Federal income tax return for the most recent tax year ending immediately
                  before the commencement of the case and for which a return was filed, including any attachments,
                  or a transcript of the tax return, or provide a written statement that the documentation does not
                  exist.
         (3)      The debtor’s obligation to provide tax returns under Federal Bankruptcy Rules 4002(b)(3) and
                  4002 (b)(4), and Local Bankruptcy Rule 4002-1(a)(2) and (b)(2) is subject to procedures for
                  safeguarding the confidentiality of tax information established by the Director of the
                  Administrative Office of the United States Courts, except that with respect to tax returns provided
                  b the debtor under Local Bankruptcy Rule 4002-1(a)(2) and (b)(2), the trustee and bankruptcy
                  administrator are not subject to the procedures for requesting the obtaining access to tax
                  information established by the Director of the Administrative Office of the United States Courts.

  (g)    CHAPTER 13 - DEBTOR DUTIES. The following shall apply in chapter 13 cases.
         (1)   SCHEDULES AND STATEMENTS REQUIRED. A debtor in a case under chapter 13 shall
               comply with the requirements of Local Bankruptcy Rule 1007-1.
         (2)   PAYMENTS UNDER PLAN. The debtor shall begin making the payments called for in the
               proposed plan on the first day of the first month following the month in which the chapter 13 case
               is filed. The payments shall be made as directed by the standing chapter 13 trustee.
         (3)   DIRECT PAYMENTS TO CREDITORS. If secured claims are to be paid outside the plan, the
               debtor shall continue to make the regular scheduled payments to the secured creditor prior to
               confirmation.
         (4)   DISPOSITION OF PROPERTY. The debtor shall not dispose of any non-exempt property having
               a fair market value of more than $5,000 by sale or otherwise without prior approval of the trustee
               and an order of the court.
         (5)   OBTAINING CREDIT. The debtor shall not purchase additional property or incur additional debt
               of $7,500 or more without prior approval from the court. The debtor must give notice of the
               application to purchase additional property or to incur additional debt to the chapter 13 trustee,
               who must respond within fourteen days of receipt of the notice. If no objection is filed, the court
               may approve the application without a hearing.
         (6)   ADEQUATE PROTECTION. When a case is dismissed prior to confirmation, the court may
               require the debtor to provide adequate protection to one or more secured creditors by directing that
               the chapter 13 trustee make adequate protection payments from funds received under paragraph
               (f)(2) (Payments Under Plan) of this rule.
         (7)   INSURANCE COVERAGE.
               (A)       The debtor shall keep the property of the debtor and the bankruptcy estate insured in a
                         manner and to the extent as may be deemed necessary, with loss payable clauses, in the
                         case of pledged or mortgages property, in favor of the appropriate secured creditors as
                         their interest may appear.
               (B)       The debtor shall ensure that any vehicle, if it is property of the debtor or property of the
                         estate and is required by a security agreement, lease or other similar agreement to be
                         covered by collision insurance, is not driven, unless the vehicle is so covered.

  BANKRUPTCY.NEW LAW FORMS/CHAPTER 13 FEE AGREEMENT REV.8.2015
         Case 16-04735-5-SWH                           Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30                      Page 86 of 88




                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      Alisa D Copeland                                                                               Case No.
                                                                                     Debtor(s)             Chapter    13




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: September 1, 2016                                                  /s/ Alisa D Copeland
                                                                          Alisa D Copeland
                                                                          Signature of Debtor

 Date: September 1, 2016                                                  /s/ Robert J. Anderson
                                                                          Signature of Attorney
                                                                          Robert J. Anderson 37992
                                                                          Gillespie & Murphy PA
                                                                          P.O. Drawer 888
                                                                          New Bern, NC 28563
                                                                          (252) 636-2225 Fax: (252) 636-0625




Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
        Case 16-04735-5-SWH     Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30     Page 87 of 88



    }
    b
    k
    1
    {
    C
    r
    e
    d
    i
    t
    o
    A
    s
    M
    a
    x




1SDNAFA11                            Dba Paragon Revenue Gr             Frost-Anett Company
Attention: Managing Agent            Attn: Managing Agent               Attn: Managing Agent
PO Box 1022                          PO Box 126                         PO Box 198988
Wixom, MI 48393-1022                 Concord, NC 28026                  Nashville, TN 37219-8988



AFNI                                 ECEP II PA                         Furniture Fair
Attention: Bankruptcy                Attention: Managing Agent          Attn: Managing Agent
1310 Martin Luther King Dr.          PO Box 2249                        507 Bell Fork Rd.
Bloomington, IL 61701                Pawleys Island, SC 29585           Jacksonville, NC 28546



Bertha Martin                        ECEPII PA                          Grace Care LLC
121 King Arthur Drive                Attention: Managing Agent          Attention: Managing Agent
Wilmington, NC 28412                 PO BOx 2249                        PO Box 338
                                     Pawleys Island, SC 29585           Saint Leonard, MD 20685



Cape Fear Commuity College           Enhanced Recovery Corp             Health Science Found
Attention: Finance Department        Attention: Client Services         Attn: Managing Agent
319 N. Front Street                  8014 Bayberry Rd                   P O Box 890554
Wilmington, NC 28401                 Jacksonville, FL 32256             Charlotte, NC 28289-0554



CCM Enterprises                      Fed Loan Serv                      Jon Barry & Associates
Attention: Managing Agent            Attn: Managing Agent               Attention: Managing Agent
Po Box 781317                        PO Box 60610                       Po Box 127
Wichita, KS 67278                    Harrisburg, PA 17106               Concord, NC 28026



Coastal Federal Credit Union         Financial Data Systems             Kirschbaum, Nanney, Keenan & Grif
Attention: Managing Agent            Attn: Managing Officer/Agent       Attention: Managing Agent
Po Box 58429                         1638 Military Cutoff Rd            PO Box 19806
Raleigh, NC 27658                    Wilmington, NC 28403               Raleigh, NC 27619



Coastal Finance Co                   Financial Data Systems             Kross/Lieberman & Ston
Attn Managing Agent                  Attn: Managing Agent               Attention: Managing Agent
3602 Market Street                   P O Box 688                        1110 Navaho Dr Ste 501
Wilmington, NC 28403                 Wrightsville Beach, NC 28480       Raleigh, NC 27609



Credbursrv                           Financial Data Systems             Nc Dept of Revenue
Attention: Managing Agent            Attn: Managing Agent               Attn: Managing Agent
Po Box 451                           1638 Military Cutoff Rd.           P O Box 1168
Durham, NC 27702                     Wilmington, NC 28403               Raleigh, NC 27602



Credit Collections Srv.              Financial Data Systems             New Hanover Reg Med Center
Attention: Managing Agent            Attention: Managing Agent          Attn Managing Agent
Po Box 9134                          1638 Military Cutoff Road          P O Box 9000
Needham, MA 02494                    Wilmington, NC 28403               Wilmington, NC 28402
     Case 16-04735-5-SWH          Doc 1 Filed 09/09/16 Entered 09/09/16 16:20:30    Page 88 of 88




Paragon Revenue Group                  TRS Recovery Services, Inc.        Wells Fargo Financial
Attention: Managing Agent              Attn: Managing Agent               Attn: Officer
216 LePhilip Ct                        5251 Westheimer                    MAC E2578-02B
Concord, NC 28025-2954                 Houston, TX 77056                  P O Box 3599
                                                                          Rancho Cucamonga, CA 91729

Pender Memorial Hospital               TRS Recovery Services, Inc.        Williams & Fudge Inc
Attn: Managing Agent                   Attn: Processing Center            Attention: Managing Agent
507 Fremont St.                        Denver, CO 80217                   300 Chatham Ave Ste 201
Burgaw, NC 28425                                                          Rock Hill, SC 29730



Pender Memorial Hospital               TRS Recovery Services, Inc.        Wilmington Health
Attention: Managing Agent              Attn: Managing Agent               Attention: Managing Agent
PO Box 1857                            PO Box 4857                        1202 Medical Center Drive
Southgate, MI 48195-0857               Houston, TX 77210-4857             Wilmington, NC 28401-7904



Progressive Insurance                  Us Dept Of Education               Wilmington Health
Attn: Managing Agent                   Attn: Borrowers Service Dept       Attention: Managing Agent
PO Box 31260                           Po Box 5609                        PO Box 600002
Tampa, FL 33631                        Greenville, TX 75403               Raleigh, NC 27675



Recovery One                           USDA Rural Development
Attention: Managing Agent              Attention: Managing Agent
5100 Parkcenter Ave                    P.O. Box 790170
Dublin, OH 43017                       St Louis, MO 63179



Revenue Cycle Solutions                Valentine & Kebartas Inc.
Attn: Managing Agent                   Attn: Managing Agent
2507 Delaney Ave                       P O Box 325
Wilmington, NC 28403                   Lawrence, MA 01842



Revenue Recovery Corp                  Verizon
Attention: Managing Agent              Attn: Managing Agent
612 S Gay St                           P O Box 105378
Knoxville, TN 37902                    Atlanta, GA 30348



Southeastern Anesthesiology            Verizon
Attention: Managing Agent              Attn: Managing Agent
PO Box 535440                          P O Box 660108
Atlanta, GA 30353                      Dallas, TX 75266-0108



TRS Recovery Services, Inc.            Wells Fargo Dealer Services
Attn: Managing Agent                   Attention: Managing Agent
P O Box 60022                          MAC E2578-02B
City Of Industry, CA 91716-0022        PO Box 3569
                                       Rancho Cucamonga, CA 91729
